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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM
                                   Plaintiffs,
          v.
   JASON KESSLER, et al.,
                                   Defendants.



         MOTION FOR LEAVE TO EXCEED PAGE LIMIT IN OMNIBUS RESPONSE TO
              DEFENDANTS’ RULE 50 AND RULE 59 POST-TRIAL MOTIONS

          Plaintiffs Elizabeth Sines, Seth Wispelwey, Marisa Blair, April Muniz, Marcus Martin,

   Natalie Romero, Chelsea Alvarado, John Doe, and Thomas Baker (“Plaintiffs”), by and through

   their counsel, hereby move this Court for leave to exceed the page limit, as set by the November

   14, 2017, Pretrial Order (ECF No. 101), in their response to Defendants’ Rule 50 and Rule 59 Post-

   Trial Motions. The November 14, 2017, Pretrial Order currently sets the page limit for such

   motions at 25 pages. (ECF No. 101 at ¶ 8.) Plaintiffs seek leave to file a response to the Motion

   not exceeding 55 pages. In support thereof, Plaintiffs state as follows:

          1.      Plaintiffs are responding to six of Defendants’ post-trial motions—ECF No. 1522

   (by Defendants Damigo, Identity Evropa, and Kessler); ECF No. 1549 (by Defendants Hill,

   League of the South, and Tubbs); ECF No. 1550 (by Defendant Spencer); and ECF Nos. 1488,

   1536, and 1557 (by Defendant Cantwell)—in one omnibus response. In total, these six post-trial

   submissions by Defendants total 79 pages, exclusive of signature pages and certificates of service.
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   Plaintiffs could respond to each motion separately which, under the Pretrial Order, would allow

   for up to 150 pages in responses in total (25 pages for each of six responses). However, in the

   interest of efficiency, Plaintiffs are consolidating their responses into a single opposition brief.

          WHEREFORE, Plaintiffs respectfully request that the Court grant this request and allow

   them to submit an opposition to Defendants’ Rule 50 and 59 Motions not to exceed 55 pages.



     Dated: April 12, 2022                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on April 12, 2022, I filed the foregoing with the Clerk of Court through
   the CM/ECF system, which will send a notice of electronic filing to:


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